                Case 2:21-cv-00031-BJR Document 37 Filed 01/28/21 Page 1 of 3



                                                                  The Honorable Barbara J. Rothstein
 1

 2

 3

 4

 5

 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8
     PARLER LLC,
 9
                               Plaintiff,                 No. 2:21-cv-00031-BJR
10
           v.                                             JOINT STIPULATION FOR
11                                                        AMENDMENT AND RESPONSE
     AMAZON WEB SERVICES, INC.,                           SCHEDULE
12
                               Defendant.
13

14         Pursuant to the Court’s Standing Order (Dkt. 35), the parties submit the following
15 stipulation:

16         1.       The deadline for Defendant Amazon Web Services, Inc. (“AWS”) to respond to
17 Plaintiff Parler LLC’s Verified Complaint is February 2, 2021.

18         2.       Rule 15(a)(1) permits Parler to amend its Verified Complaint, and Parler intends
19 to do so.
20         3.       The parties agree as follows:
21                  a.     AWS need not respond to Parler’s Verified Complaint;
22                  b.     Parler will file an Amended Complaint no later than February 16, 2021;
23                  c.     AWS’s deadline to respond to the Amended Complaint will be March 22,
24         2021.
25

26
27

     STIPULATION AND PROPOSED ORER                                            Davis Wright Tremaine LLP
                                                                                       L AW O FFICE S
     (No. 2:21-cv-00031-BJR) - 1                                                 920 Fifth Avenue, Suite 3300
                                                                                   Seattle, WA 98104-1610
                                                                            206.622.3150 main · 206.757.7700 fax
             Case 2:21-cv-00031-BJR Document 37 Filed 01/28/21 Page 2 of 3



           DATED this 28th day of January, 2021.
 1

 2                                                 Davis Wright Tremaine LLP
                                                   Attorneys for Amazon Web Services, Inc.
 3
                                                   By s/Ambika Kumar Doran
 4                                                    Ambika Kumar Doran, WSBA #38237
                                                      920 Fifth Avenue, Suite 3300
 5                                                    Seattle, WA 98104-1610
                                                      Telephone: 206-622-3150
 6                                                    E-mail: ambikadoran@dwt.com
 7                                                    Alonzo Wickers IV, (pro hac vice)
                                                      865 S. Figueroa Street, Suite 2400
 8                                                    Los Angeles, CA 90017
                                                      Telephone: 213-633-6800
 9                                                    E-mail: alonzowickers@dwt.com
10
                                                   David J. Groesbeck, P.S.
11                                                 Attorney for Parler LLC

12                                                 By s/David J. Groesbeck
                                                      David J. Groesbeck, WSBA #24749
13                                                    1333 E. Johns Prairie Rd.
14                                                    Shelton, Washington 98584
                                                      Tel.: 509-747-2800
15                                                    Fax: 509-747-2828
                                                      Email: david@groesbecklaw.com
16

17

18
19
20

21

22

23

24

25

26
27

     STIPULATION AND PROPOSED ORER                                        Davis Wright Tremaine LLP
                                                                                   L AW O FFICE S
     (No. 2:21-cv-00031-BJR) - 2                                             920 Fifth Avenue, Suite 3300
                                                                               Seattle, WA 98104-1610
                                                                        206.622.3150 main · 206.757.7700 fax
             Case 2:21-cv-00031-BJR Document 37 Filed 01/28/21 Page 3 of 3




 1                                          ORDER

 2         Pursuant to stipulation, IT IS SO ORDERED.

 3         DATED this           day of                    , 2021.

 4

 5                                              The Honorable Barbara J. Rothstein
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18
19
20

21

22

23

24

25

26
27

     STIPULATION AND PROPOSED ORDER                                    Davis Wright Tremaine LLP
                                                                                L AW O FFICE S
     (No. 2:21-cv-00031-BJR) - 3                                          920 Fifth Avenue, Suite 3300
                                                                            Seattle, WA 98104-1610
                                                                     206.622.3150 main · 206.757.7700 fax
